                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MARYLAND
                             SOUTHERN DIVISION


 AMERICAN FEDERATION OF
 TEACHERS, et al.,
                                                Case No. 8:25-cv-430-DLB
 Plaintiffs,

         v.

 SCOTT BESSENT, et al.,

 Defendants.


                                 [PROPOSED] ORDER


        Upon consideration of Plaintiffs’ Application for a Temporary Restraining Order,

the opposition thereto, reply and oral argument, it is hereby

        ORDRERED that the application should be, and hereby is, DENIED.




_______________________               ____________________________________
Date                                  United States District Judge
